Case 2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 1 of 12 PagelD: 33

AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

Page | of 5

 

UNITED STATES DISTRICT COURT

for the
District of New Jersey

De Fac3ag M Llores

4 Plainttiff/Petitioner
—, Z ,™ : .
THe LOU Capt pnD
efendan ey
US Ahoris "ge Weep Sess f

 

Civil Action No. 2. [8<CV-[O2 FH McA

SCM

APPLICATION TO S onoce D IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

 

(Long Form)
Affidavit in Support of the Application Instructions
Tam a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

a dismissal of my clai

  
 

Signed: '

 

Yn Date: (fille

that Iam unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that I am entitled to the relief requested. Ideclare “none,” or “not applicable (N/A),” write that response. If
under penalty of perjury that the information below is | you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of paper identified with your
name, your case's docket number, and the question number.

 

 

TS

1. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse Spouse

 

Employment $ C $ 4a) y if)

§ N/A

 

Self-employment $ CO) $ W7)

fA

nf

 

Income from real property (such as rental income) o)
$ $ ih

FA

NS

 

Interest and dividends

 

 

 

 

 

 

 

sO Sh 7,
_“ $ 0 $ fp pO Yi
Alimony $ O $ phi Vp $ AJ i ft}
Child support $ ae $ n/ iff? $ l/h

QAQILIL]| LS fs

 

 

 
Case 2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 2 of 12 PagelD: 34

AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

Page 2 of 5

 

insurance)

Retirement (such as social security, pensions, annuities,

SA2TA

S WA $2372

s Se

 

Disability (such as social security, insurance payments)

§ 6S

$ NO $ Qe

‘Af

 

Unemployment payments

$s ©

‘VA § ©

ay

 

Public-assistance (such as welfare)

sO

sp s OC

s AWA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Other (specify): ~ ,
3 © § Afb $ C) 8 al [fF
Total monthly income: 0.0/5 0.0/5 0.00 |$ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
_ monthly pay
AONE No We SA s VA
re y
NONE. MONE Ne sui
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay

 

nip

AYP

p/p

$A

 

vip

Wa

Wp

WA

 

WW:

 

 

we)

 

Al WE

 

 

s/t

 

4. How much cash do you and your spouse have? $ ms MT

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

Financial institution

Type of account

Amount you have

Amount your
spouse has

 

 

 

 

 

SHE Ler CKAL F-
Coon Win LRG T 5 LO, O 5 NZ
$ $
$ $

 

 

 

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
Case 2:18-cv-10277-MCA-ESK Document4 Filed 06/18/18 Page 3 of 12 PagelD: 35

Page 3 of 5

AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

 

5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.

 

Assets owned by you or your spouse

 

Home (Value) TYO Ne $
Other real estate (Value)
"oll Lot ws) Fick
Motor vehicle #/ (Value) LEISE D
Make and year: 220/ F Ty, WSS for?
Model: Aol VE ;
7
Registration #: N TJ

 

 

 

 

 

Motor vehicle #2 (Value)

No
Make and year: a) hh
Model: aS J) fo

7

Registration #: As / ft

 

 

 

 

 

 

 

 

 

 

 

Other assets (Value) $

Other assets (Value) $

6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money

 

Nowe 5 © § ©
TONE $ © $ O

 

 

 

 

 

 

 

 

(No NE $ O $ ©
7. State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only) Relationship Age

 

yA Jone KS / A

 

 

 

 

 

 

 
ae

Case 2:18-cv-10277-MCA-ESK Document4 Filed 06/18/18 Page 4 of 12 PagelD: 36

Page 4 of 5
AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

 

 

 

 

 

You Your spouse
Rent or home-mortgage payment (including lot rented for mobile home) . /
Are real estate taxes included? O Yes No $ / Si “F $ NV /6-
Is property insurance included? Yes ONo
f
Utilities (electricity, heating fuel, water, sewer, and telephone) $ 6 Co $ fh
Home maintenance (repairs and upkeep) $ O $ x fv A
yo

Food $/ SO $ vip}

 

Clothing $0 5 a Z My

 

 

 

 

Laundry and dry-cleaning $ O $ AJ )
. a
Medical and dental expenses ( Vi i) $ O $ LU fe
=f
Transportation (not including motor vehicle payments) $ AO $ N i

Recreation, entertainment, newspapers, magazines, etc.

 

Insurance (not deducted from wages or included in mortgage payments)

 

Homeowner's or renter's:

 

 

 

 

 

Life:

Health: ( SS A)

Motor vehicle: $ Oy GY $ N, ip
Other: $ () $ Nh

 

Taxes (not deducted from wages or included in mortgage payments) (specify):

 

Installment payments

 

Motor vehicle:

 

Credit card (name):

 

Department store (name):

 

Other:

 

Alimony, maintenance, and support paid to others

 

 

 

 

 

 
 

Case 2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 5 of 12 PagelD: 37

 

 

Page 5 of 5
AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
Regular expenses for operation of business, profession, or farm (attach detailed $ O $ KS ,
Statement)

 

Other (specify): § OQ $ yo. My

 

 

 

 

 

Total monthly expenses: $ 3 2 6 73 0.008 0.00
9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months?
Ol Yes x No If yes, describe on an attached sheet.
10. Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this

lawsuit? a Yes fINo
If yes, how much? $ Wo/ Ske

11. Provide any other information that will help explain why you cannot pay the costs of these proceedings.

12. Identify the city and state of your legal residence.
Koseile, NVI CF03 >
Your daytime phone number: 9 $2 ) SH -€ Yo 22
Your age: CG Your years of schooling: GLARE
ES DROUIN SIAE ty Hoe OLAS EL wif AGE 6 of 12 PagelD: 38

 

 

 

6/16/2018 Case 248; -L02 LEM 7
ae

Welcome, Beverley! You last signed in on February 05, 2018 at Navigation

12:29PM EST. Overview

uty Statement) Benefit &
Social Security Statement } ~ Payment Details

Earnings Record

 

 

A Message from Social Security:

¥Y Your Social Security Statement... Replacement
Documents
Estimated Benefits: Not applicable
My Profile
Last Reported $0 in 2016 @' View Earnings
Earnings: Record

Benefits & Payments G MSE, SE Mab

You are receiving: Social Security View Benefit Details SAAN C OME, ‘

(Retirement), D Sw, J PIS OO

Medicare

$1,511.40 i) View P (POEM Peel. fA
911.40 on July 3, lew Payment

2018 wi History (3 3) VA Dsebrldy § /

- = FX0E SR

Get a Benefit Verification Letter

Need proof that you receive Social Security benefits? Here's your 2 ( AO - OQ

- y
official letter. “To TAL .
—F waapak srchund
fatty Peller 6 « 1D.
af

    
   

Your next payment
is:

  
 
 

  
  

Social Security Card Replacement

Request a Replacement Card

Go to My Profile
Your profile allows you to view or
update your:

#& Get Help

httns://secure_ssa_aov/mvSSA/start 1/2
eiteiz01g CASe 2:18-cv-10277-MCA-ESK Document 4 sentl$ 06/18/18 Page 7 of 12 PagelD: 39

 

 
   
 

5 Online

et

 

! Search OPM

 

Go

 

Net

MENU

 

#2 Dashboard

® Profile

® Direct Deposit

@ Chk/Sav Allotment
® Form 1099R

® Org Allotments

© Federal Tax

© Annuity Statement
® State Tax 9 ©
® View / Print ID Card aaht AG shy Oak bolo’
@® Summary Of Payment
© Transaction History
@® On Demand Docs

 

  

 

MESSAGES

 

 

Welcome BEVERLEY M HARRIS , Last Login: 2/2/2018 12:47:13 PM E.S.T.

 

 

Recent Transaction: Password Change
A new password has been saved for this account. | Saved On: 06/16/2018

 

ANNUITY SUMMARY

 

 

Annuitant Name BEVERLEY M HARRIS
Claim Number AXXXXXXXX

Payment Dated 6/1/2018

Gross Amount of Annuity $890.00

Net Amount of Annuity $861.42

 

 

SEI

© 20178 = SERVICES ONLINE

 

https://www.servicesonline.opm.gov/Home/Index 1/2
‘ case ERI ET? DUN 96/18/18 Page 8 of 12 PagelD: 40

en
THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN 2018
DISTRICT OF NEW YORK

 

Dr. Beverley Harris
230 Hamilton Avenue (Permanent address since 1977)

New Rochelle, NY 10801

610 Greenway Blvd, Apt 610 (Temporary address)
Roselle, New Jersey 07203

E-mail: Sirrahbm@gmail.com
Tel: (973) 876-0933

21 May 2018

The Honorable Judge Collen McMahon
Chief US District Judge

US District Court

500 Pear] Street

New York, NY 10007

Re: 14 Years of FBI Complete Control and Deprivation of Human Rights

Your Honorable Judge McMahon

Good day. I am Dr. Beverley M. Harris, retired US Air Force, retired US Government Civil

Servant, and a Disabled Military Veteran. I am reaching out to you today because I do not know

who else to reach out to for help. I have contacted several attorneys and all I have been receiving

are excuses.

For approximately 14 years now I have been the victim of the most outrageous act of
"miscarriage of justice that any human being could experience, and which I believe requires

immediate attention.

Since 2004 the FBI has controlled every aspect of my life and has destroyed my entire life, and
my human dignity. This nightmare began in 2003 when I was a victim of extortion while
employed as a Contract Specialist on the US Air Force-1 (The President's fleet of aircraft)
Operation at Andrews Air Force Base, Maryland. I reported it to the US Air Force Office of
Special Operation (OSI) and the FBI was called in to investigate the illegal activities. The FB]
discovered that there were other illegal activities occurring in the Contract Squadron at the

highest level of management. There were arrest and demotion made which led to the court

 

From: Dr. Beverley Harris *

Page 1

Vv
* Case 2:18-cv-10277-MCA-ESK Document4 Filed 06/18/18 Page 9 of 12 PagelD: 41

THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN 2018
DISTRICT OF NEW YORK

system in 2004 and I later learned that the FBI "threw the case because of pressure from the

Pentagon". This I cannot confirm.

However, the FBI decided to focus on me as the "scape goat" and began telling everyone that I
was the "whistleblower" and that was when my nightmare began. I was terminated from my GS-
12 job with the GSA in Boston in July 2004 and the job terminations continued 7 times after that
until 2011 when the US Army fired me without cause. After that last termination, I could not

even obtain a job with McDonalds to serve hamburgers. I was forced into retirement by the US

Army.

THE ATTACHED HUMAN RIGHT COMPLAINT MADE TO THE UNITED NATIONS
OFFICE OF THE HIGH COMMISSIONER FOR HUMAN RIGHTS (OHCHR) EXPLAINS
IN DETAIL THE INJUSTICES I SUFFERED BECAUSE:

(1) THE AIR-FORCE-I INCIDENT,

(2) T REFUSED TO SPY ON THE US ARMY WHILE SERVING IN THE IRAQI
CONFLICT IN KUWAIT IN 2010, AND

(3) I RECORDED A TELEPHONE CONVERSATION WITH A FBI SENIOR MANAGER

WHO ADMITTED THAT THE FBI HOUSTON TEXAS FIELD OFFICE WAS
ILLEGALLY MONITORING ME, IN 2011.

THIS INJUSTICE BY THE FBI CONTINUES TO DATE.

Your Honor, I do believe that the FBI has ignored the importance of "Due Process" and has
thrown water in the face of "The Rule of Law” In 2009 the FBI, with the cooperation of KBR,
Inc., a Defense Contractor and my then employer, and Dr. Garland Gossett along with medical
staff at the St. Joseph Hospital in Houston TX deceptively claimed that I needed to have a
colonoscopy test, a requirement for my job as an Air Traffic Controller, while serving in Iraq.
During that colonoscopy procedure on 17 February 2009, a "FBI Tracking Device" was illegally
implanted in the front area of my right leg approximately 8" above the knee, without my

knowledge and/or consent. I became aware of the device in April 2017, by accident.

[An
From: Dr. Beverley Harris Page 2

 
Case .2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 10 of 12 PagelD: 42

aq

THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN 2018
DISTRICT OF NEW YORK

Then in 2014 while I was residing in Germany the FBI with the cooperation of Dr. Stefan Gress,
a German Dermatologist in Munich Germany, again illegally and without my knowledge and/or
consent implanted a "FBI Listening Device" in the base of the opening to my right ear on, 24

June 2014 during a medical procedure on my face. I discovered this illegal implant in December

2017. Both devices are still in my body.

Since the FBI had been monitoring my every activity with the help of these devices, and
blocking all my communication system, and hearing everything I would utter, they knew I was
aware of the devices in my body. So, with the help of my landlord at The Park Bozzuto
Apartments in Roselle, NJ, the FBI installed camera(s) in my apartment #610 then moved into
Apartment #611 in order to monitor me 24/7 (SEE ATTACHED DOCUMENTATION).

I had moved into The Park Apartments complex on 11 September 2017and rented Apartment
(#610). It was on 8 March 2018 I discovered camera(s) in my apartment When I complained to
my apartment management they never responded but secretly removed the camera(s) while I was
away from my apartment, damaged the stove-top, kitchen sink, and bathroom sink with the intent
to withhold my security-deposit; something I had experienced with my German landlords who
the FBI was constantly visiting while I was a tenant. Soon after my complaint to The Park
Bozzuto Apartment's management an attorney, Jennifer Alexander, wrote a bullying letter to me
about everything except addressing the illegal placing of the camera(s) in my apartment. To date

I have heard nothing from the Landlord about this illegal situation.

However, in April 2018 I noticed that the tenants/neighbors in Apt #611 are FBI Agents and they
all drove cars with New York State's License Plates from the FBI NY Field Office (verified).

Plate numbers and description are:
1. FGE 1533 Black Caravan SUV
2. 1742823 Black Nissan Pathfinder
3, --- 848 Black Ford Sedan ??
4 FMS 8053 Silver SUV

5. HTD 3778 Dark Gray Volk Wagon Jetta, with b/w bumper sticker CI

 

From: Dr. Beverley Harris Page 3
‘Case.2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 11 of 12 PagelD: 43

‘

THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN 2018
DISTRICT OF NEW YORK

I have enclosed emails to show that I did address this situation with the FBI Agents with the

landlord representatives here at the complex, but like everything else they have yet to respond.

I am being monitored and made a joke of, 24/7, by the FBI and the people that they have been

recruiting to help in depriving me of my human dignity.

Then FBI has deliberately isolated me from friends, family, neighbors and everyone by telling
them that 1 am a Child Molester, a Prostitute and a Liar; none of which is true. This I later
learned in 2015 from a neighbor while in Germany. The former German neighbor informed me
that my landlord, at the time, informed him of the FBI's accusation. My sister-in-law in Texas

also informed me of the same accusation saying “I thought you knew”.

The FBI's other illegal planned actions against me was to "frame" as a Child Molester by having
children follow me on a daily basis while in Germany and the US and that continues to date

(SEE ATTACHED DOCUMENTATION).

Your Honor, I come to you in humbleness, kindly asking for your help to get MRI test (or any
other medial test) that can provide clean and precise photo image of these devices in my body. In
addition, these photos are needed to prove to everyone who do not believe me and who question
my mental capability’ because I am a lone-sole fighting again the powerful machine of the
FBI/DOJ, that I am truthful and always will be about the injustice the FBI has inflicted on me. I
have made 4 attempts to have MRIs performed (SEE ATTACHED DOCUMENTATION) and
each time I am met with the same hostility, demeaning attitude, excuses and outright oea sel
medical staff in civilian hospitals and the Department of Veteran Affairs who is responsible for

my medical treatment.

Your Honor, you exist in an environment that deals with "facts" and fact derive from undeniable
evidences, and that is all I am kindly requesting to get from having this MRI test performed. I do
not know if I am doing the right thing by coming to you for help, but as you can see, I am
fighting for my FREEDOM. I have spent more than 35 years in the service of this Country

fighting for everyone's Freedom. Yet, for approximately 14 years I have been denied such

 

‘ | have no mental problem and my mental capability has never been compromised in anyway.

 

From: Dr. Beverley Harris Page 4
Jn

- Case 2:18-cv-10277-MCA-ESK Document 4 Filed 06/18/18 Page 12 of 12 PagelD: 44

THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN 2018
DISTRICT OF NEW YORK

Freedom and am fighting for something that the United States of America prides itself on having

in abundance; so where is my Freedom?

Your Honor, none of us knows when the Lord will call us to come home. If I did today, I would
like to die as a FREE PERSON without FBI devices in my body, and a person with some
HUMAN DIGINITY; something I am lacking today. PLEASE HELP, PLEASE I KINDLY
BEG YOU I HAVE EARNED MY FREEDOM.

I sincerely pray that Your Honor will grant my motion for an Order for Medical Evidence

  

Truly,

   

- er .

Dr. Beverley Harri
Apt. 610

Enclosure:

Ce: file

ec
eee cere ee eee ene eee eee eee eee

From: Dr. Beverley Harris Page 5
